         Case 1:22-cv-01695-CRC Document 6 Filed 06/17/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                :
JAMIE GROSS-LEE,                                :
on behalf of her minor child DA-G               :
                                                :
PLAINTIFF,                                      :
                                                :
       v.                                       :   Civ. A. No. 1:22-cv-01695-CRC-GMH
                                                :
WASHINGTON LEADERSHIP ACADEMY                   :
                                                :
AND                                             :
                                                :
DISTRICT OF COLUMBIA,                           :
                                                :
DEFENDANTS                                      :
                                                :
                                                :

               CONSENT MOTION FOR JOINT BRIEFING SCHEDULE

       Plaintiff Ms. Jamie Gross-Lee, on behalf of DA-G (“Plaintiff or Ms. Gross-Lee”),

with the consent of Defendants Washington Leadership Academy (“WLA”) and the District

of Columbia (“the District”) submits the joint briefing schedule below pursuant to the

Court’s request on June 16, 2022. The parties have conferred and request this Court set a

briefing schedule as follows:



            1. Defendants file Oppositions:         June 24, 2022

            2. Plaintiff files Reply:               July 6, 2022




                                               1
          Case 1:22-cv-01695-CRC Document 6 Filed 06/17/22 Page 2 of 3




       The parties respectfully request that this Honorable Court enter an Order consistent with

the proposed briefing schedule on page 1.



                                              Respectfully submitted,

                                                            /s/ Dara Gold

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                                                            June 17, 2022




                                                2
         Case 1:22-cv-01695-CRC Document 6 Filed 06/17/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 17th day of June 2022, I served the foregoing Consent

Motion via email and by filing it via the Court’s electronic filing system, and that as a result

of such filing, a notification and copy of such filing will be sent to counsel of record for the

Defendants to:


Counsel for WLA
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                                                              /s/ Dara Gold

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                                                 3
